Case 2:20-mb-03262-MTM Document3 Filed 11/16/20 Page 1of3-:

AO93 Search and Seizure Warrant

UNITED STATES DISTRICT COURT .
for th
District, of Atizona

In the Matter of the Search of Case No. IO ~ 3% oto ob MO

12828 N. Mountainside Dr. #101
Fountain Hills, AZ 85268

oe

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the District of Arizona:

As further described in Attachment A.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal:

As set forth in Attachment B.

YOU ARE COMMANDED to execute this warrant on or before _ November 18, 2020 __ (not to exceed 14 days)
in the daytime 6:00 a.m. to 10:00 p.m. C at any time in the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken
to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where
the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to any United States Magistrate Judge on
criminal duty in the District of Arizona.

€ | find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be searched or

seized D) for _30_ days (not to exceed 30) C until, the facts justifying, the later specific date of

Date and time issued: (1-4-30 e. | XC] pias = {V) Mac F3»ttopn
“4

Judge's signature

City and state: Phoenix, Arizona Honorable Michael T. Morrissey, U.S. Magistrate Judge
Printed name and title

Case 2:20-mb-03262-MTM Document3 Filed 11/16/20 Page 2of3

AO 93 (Rev, 01/09) Senech and Selzure Warrant (Pago 2)

RETURN
Case No.; Date and Time Warrant Executed: Copy of warrant and inventory left with:
AW “L [Sf] r3ete .
Zo ~ LE MB is} Elhet Cerin
D2 AM

Inventory Made in the Presence of:

SA Marsho| Merce co

Inventory of the property taken and name of any person(s) seized:

Sec ntrudrejA receret foe Prpecty

CERTIFICATION
I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.
Date: _{| [is [20 Lo —L 7! ~ lL. }q—
ho] Executing/officer’s signature
Ss 4 Leigh iS eet
Printed name aiid title

Case 2:20-mb-03262-MTM Document3 Filed 11/16/20 Page 3of3

FD-597 (Rev, 4-13-2015) Page of

UNITED STATES DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF INVESTIGATION
Receipt for Property

Case ID: LOGA - PX- 334/332.

On(datey) November 5, 2520 __ item(s) listed below were:
Collected/Seized
Received From
Returned To
Released To

_ (Name)
(Street Address) [2226 N Mountainside Dr, Apt 10!

ciy, _FDUrtain Hils, Az

Description of Item (s):

V Lenora 6780 Loph he Compeder~_SM:CBO30 to7
ize GR Patwot bust Sool state Deve oeTWa
S/N: PRUWVL9GS25 35 4 R
ZGoGis PalwalTorchty Sxtas sold Shite Drive
SIN PILbO S525 SS) ‘K
Marie Wawdl dunive x Ay DET ws
Vwesttev ciacbuir Wawel Dene SiN) wW5289 5 \ZAFAS
V. hase ch Yee wilh Masher Dell opr Co IK 260 \wane,
B/N 412 AWB G S324A\
\/_Pabwer lsrawd| yarc y SE 124 GS S/n) PE COOK WY
Vv. Som santh AGO EVomMs N50 C GB QIN: SS ESNK OF 2) 433
ae Ask \e CB san disk Deives SdwnSuwa

Sry _ Car

V Black nove VW iwhS acd S/N _RY- PSK CG £¢ wilh charorer’)
/ Gras, De? Cc owns whey SAN ‘2G Q. YS, L U
\/ Ron” wd ol) US Ric, 5 Sip Cards

Ret AN a Sord Ove S/N Bap x
Received By: we Received From: alte eee”
Sig) ignature) .

Printed Name/Tide: SA eahel 1) etme Printed Name/Title: Buster CER AD

